Case 9:07-cv-80138-D|\/||\/| Document 48-6 Entered on FLSD Docket 10/03/2007 lPa|e lluffll

Stacey Cohen

 

 

From: Stacey Cohen

Sent: Wednesday, September 12, 2007 1:39 P|Vl
To: 'frankmckeown@juno.com'

Subject: RE: Su|livan

THE AGREE|V|ENT WAS PAYMENT BY 9/10 to be kept in our trust account |t’s not our fault his client has not
signed. Please forward the check ll\/ll\/lEDlATELY or we will file a motion to enforce and seek sanctions Thank

you.

 

From: frankmckeown@juno.com [mai|to:frankmckeown@juno.com]
Sent: Wednesday, September 12, 2007 1:35 PM

To: Stacey Cohen

Subject: Re: Sullivan

Ms. Marks is in New York until Friday. Mr. McKeoWn has the check
but does not have the signed release. When Ms Marks returns on Friday, you
Will get the check and the signed release.

Maureen Koszola

Legal Assistant to Frank McKeoWn

 

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EXH|BIT

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10/3/2007

